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                                Exhibit
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                                            ABOUT XBT                          SERVICES                    INVESTOR RELATIONS                         CONTACTS



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              12,000                           37000                                40                                    5                            1,500
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    INVESTOR FAQ
      Got questions?
             WHICH COMPANIES ARE PARTS OF XBT HOLDING?                                                                        Don't see the answer
                                                                                                                              you need?
             WHERE ARE THE HOLDING'S FACILITIES AND OFFICES LOCATED?
                                                                                                                               Feel free to contact our XBT team.
             The Holding's facilities are located in the US (Dallas), Europe (Amsterdam, Luxembourg) and Asia
             (Singapore, Hyderabad). The offices are in Amersfoort (The Netherlands) and in Fort Lauderdale
             (Florida, US).                                                                                                         CONTACT US


             WHAT IS THE HOLDING'S CORPORATE STATUS?

             HOW MANY EMPLOYEES DOES THE XBT HOLDING HAVE?

             WHO ARE XBT HOLDING'S COMPETITORS?

             WHO ARE XBT HOLDING'S CUSTOMERS?

             WHO ARE XBT HOLDING'S PARTNERS?

             DOES XBT HAVE A PUBLIC OFFERING?

             HOW CAN I INVEST IN XBT? CAN I PURCHASE STOCK DIRECTLY FROM THE COMPANY?

             DOES XBT HOLDING PAY A CASH DIVIDEND?

             HOW DO I CONTACT XBT HOLDING INVESTOR RELATIONS?

             WHEN DOES XBT HOLDING'S FISCAL YEAR END?

             HOW CAN I VIEW THE QUARTERLY AND ANNUAL REPORTS ONLINE?

             WHO ARE XBT HOLDING'S INDEPENDENT AUDITORS?




                                                      COMPANY                                INVESTOR RELATIONS                            For investor related issues call:
                                                                                                                                           +352.20.500.500
    HEAD OFFICE ADDRESS                               About XBT Holding                      Business Portfolio
                                                      Services                               Financial Information
    3, op der Poukewiss,                              Geography                              Corporate Governance
                                                                                                                                           Investor Relations
    7795, Roost,                                      Newsroom                               Quarterly Reports
                                                      Subsidiaries                           Investor FAQ                                  Press and Media
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